Case 1:22-cv-01562-SAG Document 1-4 Filed 06/24/22 Page 1 of 3




           EXHIBIT B
        Case 1:22-cv-01562-SAG Document 1-4 Filed 06/24/22 Page 2 of 3
        Case 4:20-cv-02254-YGR Document 125 Filed 04/01/22 Page 1 of 2


                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                             ZOOM CIVIL MINUTE ORDER

 Case No.: 20-cv-02254-YGR               Case Name: LD v. United Behavioral Health
 Chief Magistrate Judge: JOSEPH          Date: April 1, 2022        Time: 52 M (9:31-10:23)
 C. SPERO

Attorney for Plaintiff: Matt Lavin, David Lilienstein, Aaron Modiano
Attorney for Defendant: Geoffrey Sigler for UBH; Craig Caesar for Dft Multi-Plan

 Deputy Clerk: Karen Hom                              Court Reporter: Marla Knox

                             ZOOM WEBINAR PROCEEDINGS

1. Discovery Hearing re: Joint Letters [117] and [120] – Held
2. Motion for Leave to File Exhibit ISO Joint Letter [dkt 121] – Granted.

                                ORDERED AFTER HEARING

As to the Joint Letters, ECF 117 and ECF 120 – for the reasons stated on the record, relief is
granted in part, denied in part as follows:
    1. The court will not allow redactions of relevant documents except on the basis of attorney
        client privilege or attorney work product, other than for the names of the putative class
        members (at this stage of the case). The parties should meet and confer on a system so
        that an anonymous but consistent identifier can be substituted for the names of the
        putative class members on documents produced. AEO designation can be used for other
        confidential materials.
    2. As to the image quality of the documents, the Plaintiff shall provide a Bates list of
        problematic documents to Defendant by 4/8/2022. Defendant shall produce legible copies
        of the documents on the Bates list by 4/15/2022.
    3. Neither party has used TAR to produce documents thus far in the case. The court noted
        that if TAR is used, the entire TAR process must be disclosed to the other side. The
        parties are directed to meet and confer on the use of TAR.
    4. Request for bi-weekly discovery conferences is denied.
    5. With respect to the third-party subpoenas at issue, they are quashed other than the
        requests listed below (but without prejudice to revisiting the issue as to the quashed
        paragraphs should the situation change):
            a. With respect to all paragraphs of the document request, substitute “Documents
                 sufficient to show” for “all documents.”
            b. Document requests 1,2,3,4,6,7,11,14
            c. 8 but only with respect to policies, procedures or documents sufficient to show
                 amounts you normally receive or accept for IOP claims.
            d. 10 and 12 but only with respect to documents sufficient to show communications
                 from Defendants to the provider prior to treatment (e.g. verification of benefits)
                 regarding amount of payment for these IOP claims from class members.
     Case 1:22-cv-01562-SAG Document 1-4 Filed 06/24/22 Page 3 of 3
     Case 4:20-cv-02254-YGR Document 125 Filed 04/01/22 Page 2 of 2


       e. 15 but only with respect to communications regarding the instant lawsuit.
6. Defendants shall give notice in advance to the Plaintiff of any meet and confer
   conference with the subpoenaed parties at issue in this joint letter regarding substantive
   scope of document production by the subpoenaed parties. Plaintiff can choose to attend
   the meeting but may not insist on a change of the date or time.
